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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF' PENNSYLVANIA


    KENNETH GOLDSMITH,                         )
             Plaintiff,                        )
                                               )       2: 16-cv-O 1362
                         v.                    )
                                               )      Juc.ge Mark R. Hornak
    SERGEANT JAMES A. TOGYER,                  )
              Defendant.                       )


                                           ORDER

       AND NOW, this 10th day of May, 2018, in accordance with this Court's prior Order, dated

March 2, 2018, granting in part terminated Defendant Frederick Goldsmith's Renewed Motion for

Sanctions for Abusive Litigation Practices, ECF No. 112, 1 and in consideration of Frederick

Goldsmith's Declaration of Counsel in Support of Claimed Fees and Costs, ECF No. 136,2 the

Court hereby ORDERS Plaintiff Kenneth Goldsmith to pay attorney's fees to terminated

Defendant Frederick Goldsmith in the amount of $713.50. 3




1
  This Court granted the Renewed Motion for Sanctions to the extent that the Court would award
reasonable and necessary attorney's fees to Frederick Goldsmith that Frederick Goldsmith had
incurred in the filing of his Motion to Strike, ECF No. 108, and in the filing of his Renewed
Motion for Sanctions, ECF No. 112, and the corresponding Brief in Support of the Motion, ECF
No. 113. See March 2, 2018, Order, ECF No. 133. As directed by the Court, Frederick Goldsmith
filed a Declaration of Counsel specifying such claimed fees and costs in detail. ECF No. 136.
2
  Plaintiff was Ordered to respond to Frederick Goldsmith's Declaration. ECF No. 137. Plaintiff
was granted a first extension, ECF No. 141, but the day before the deadline, Plaintiff requested
another extension, which the Court also granted. ECF Nos. 144, 145. Plaintiff failed to file any
response by the twice-extended deadline of May 3, 2018.
3
  The Court reduced the award by $145, the equivalent of one hour's work, from the amount
stated in the Declaration, ECF No. 136, concluding 3.3 hours of work represents a reasonable
and necessary amount for the renewed Motion for Sanctions and supporting brief. The Court
concludes all other declared fees and costs were reasonable and necessary.
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       Such payment to be made in full on or before July l, 2018.

       It is so ordered.




                                                          United States District Judge

cc: All counsel of record




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